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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                                           BRUNSWICK DIVISION
                                                                                       7I3 OCT 2i A :

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              RALPH JAMES MERCADO,

                                  Petitioner,                         CIVIL ACTION NO.: CV213-108

                           Im

              UNITED STATES OF AMERICA,                               (Case No.: CR295-06)

                                   Respondent




                          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                     Ralph Mercado ("Mercado"), who is currently incarcerated at the United States

              Penitentiary in Beaumont, Texas, filed a petition for post-conviction relief pursuant to 28

              U.S.C. § 2255. The Government filed a Motion to Dismiss. Mercado filed a Response.

              For the reasons which follow, the Government's Motion should be GRANTED.

                                                STATEMENT OF THE CASE

                     Mercado pleaded guilty to one count of bank robbery, in violation of 18 U.S.C. §

              2113(d), and to one count of using a firearm during the commission of a crime of

              violence, in violation of 18 U.S.C. § 924(c). The Honorable Anthony A. Alaimo

              sentenced Mercado to 300 months' imprisonment on the bank robbery count and 60

              months' imprisonment on the firearms count, to be served consecutively, on June 23,

              1995. Mercado filed an appeal, and the Eleventh Circuit Court of Appeals affirmed

              Mercado's sentence in 1997. United States v. Mercado, 112 F.3d 1172 (11th Cir. 1997)



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                  (Table). Judge Alaimo adopted the Eleventh Circuit's judgment as the judgment of this

                  Court on May 15, 1997. (Doc. No. 101). On April 6, 1998, Mercado filed a motion for

                  extension of time to file a motion pursuant to 28 U.S.C. § 2255. The undersigned

                  denied Mercado's motion by Order dated April 8, 1998, and directed Mercado to file his

                  section 2255 motion within the applicable time limits. (Doc. No. 104). Mercado did not

                  file a motion to vacate, set aside, or correct his sentence pursuant to § 2255. However,

                  Mercado did file two (2) motions to modify his sentence pursuant to 18 U.S.C. § 3582,

                  and this Court denied both motions. (Doc. Nos. 181, 184, 189, and 191).

                             Mercado filed a Motion pursuant to Rule 60(b). In that Motion, Mercado

                  contended that the probation officer who prepared his Pie-Sentence Investigation

                  Report ("PSI") committed a fraud on the Court by providing misleading information in the

                  PSI, particularly the prior convictions used to calculate Mercado's criminal history

                  points. The undersigned recommended that Mercado's Motion be dismissed, and

                  Judge Alaimo adopted this recommendation as the opinion of the Court. (Doc. Nos.

                  199, 201). The Eleventh Circuit dismissed Mercado's appeal for want of prosecution

                  due to Mercado's failure to pay the applicable filing fee.

                             In yet another pleading, Mercado contended that he was led to believe he would

                  be sentenced to a total of 222 months' imprisonment rather than the 360-month

                  sentence he received. Mercado asserted that the Assistant United States Attorney

                  openly argued for an upward departure at his sentencing hearing, despite the existence

                  of a plea agreement.' The undersigned recommended that Mercado's motion be

                  dismissed. (Doc. Nos. 220, 222). The Honorable Lisa Godbey Wood adopted this



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                      The transcript from Mercado's sentencing hearing belies this contention. (Doc. No. 90, pp. 11-12).

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                  recommendation as the opinion of the Court. (Doc. No. 229). Judge Wood also denied

                  Mercado's motion for reconsideration of her previous order. (Doc. No. 235).

                          In this Motion, Mercado asserts that he received ineffective assistance of counsel

                  during the pretrial, plea, and sentencing phases of his criminal proceedings. Mercado

                  also asserts that his guilty plea was not entered into knowingly and voluntarily because

                  he did not have a competency hearing and/or an evaluation. The Government contends

                  that Mercado's Motion is untimely, and he is not entitled to equitable tolling.

                                     DISCUSSION AND CITATION TO AUTHORITY

                          Motions made pursuant to 28 U.S.C. § 2255 are subject to a statute of limitations

                  period. This limitations period runs from the latest of:

                          (1) the date on which the judgment of conviction becomes final;

                          (2) the date on which the impediment to making a motion created by
                          governmental action in violation of the Constitution or laws of the
                          United States is removed, if the movant was prevented from making
                          a motion by such governmental action;

                          (3) the date on which the right asserted was initially recognized by
                          the Supreme Court, if that right has been newly recognized by the
                          Supreme Court and made retroactively applicable to cases on
                          collateral review; or

                          (4) the date on which the facts supporting the claim or claims
                          presented could have been discovered through the exercise of due
                          diligence.

                  28 U.S.C. § 2255(f).

                          The Eleventh Circuit affirmed Mercado's convictions and sentences in 1997, and

                  this Court adopted the Eleventh Circuit's judgment as the judgment of this Court on May

                  15, 1997 2 Mercado had ninety (90) days to file a petition for writ of certiorari with the


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                   The Court's docketing system does not provide a link to the Eleventh Circuit's decision, and thus, the
                  undersigned was not able to determine on what date the Eleventh Circuit affirmed Mercado's convictions

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              United States Supreme Court, which he did not do. Sup. CT. R. 13.1. Mercado's

              conviction became "final" on August 13, 1997, and he had one (1) year to file a timely §

              2255 motion, or until August 13, 1998. Mercado filed the instant motion on August 5,

              2013, nearly fifteen (15) years after the applicable statute of limitations period expired.

                     Mercado contends that he is entitled to the equitable tolling of the applicable

              statute of limitations period. A prisoner seeking equitable tolling must establish "that he

              has been pursuing his rights diligently" and "that some extraordinary circumstance

              stood in his way" which prevented him from timely filing his § 2255 motion. Lawrence v.

              Florida, 549 U.S. 327, 335 (2007) (citing Pace v. DiGuglielmo, 544 U.S. 408, 418

              (2005)). Equitable tolling is "an extraordinary remedy that must be applied sparingly[,]"

              and a prisoner must present a "truly extreme case." Holland v. Florida, 539 F.3d 1334,

              1338 (11th Cir. 2008), overruled on other grounds by Holland v. Florida, 560 U.S. 631,

              (2010). "[T]he burden of establishing eligibility for" this extraordinary remedy

              "squarely" rests with the prisoner. Foley v. United States, 420 F. App'x 941, 942 (11th

              Cir. 2011) (quoting Outlerv. United States, 485 F.3d 1273, 1281 (11th Cir. 2007)).

                     There is no evidence before the Court that Mercado could not have discovered

              his claims until almost fifteen (15) years after his conviction became final. Mercado has

              not shown that he pursued the claims raised in his latest filing with any sort of diligence

              prior to the expiration of the applicable statute of limitations period, which typically is

              one (1) year from the date of a conviction's finality. 28 U.S.C. § 2255(f)(1). Mercado's

              motion was filed untimely, even considering section 2255(f)(4) as the applicable start of

              statute of limitations period. To the extent Mercado wishes for § 2255(f)(2) to provide a


              and sentences. Accordingly, the undersigned has used the date Judge Alaimo adopted the Eleventh
              Circuit's judgment as the statute of limitations triggering event.

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              triggering event for equitable tolling purposes, any assertion in this regard must be

              discounted for the reasons set forth in the Government's Motion. (Doc. No. 3, pp. 3-4).

                                                  CONCLUSION

                    Based on the foregoing, it is my RECOMMENDATION that the Government's

              Motion to Dismiss be GRANTED.       It is also my RECOMMENDATION that Mercado's

              Motion, filed pursuant to 28 U.S.C. § 2255, be DISMISSED.

                    SO REPORTED and RECOMMENDED, this                  day of October, 2013.




                                                          lIES E. GRAHAM
                                                          ITED STATES MAGISTRATE JUDGE




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